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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION



BRAYDEN L. HOWES                                                                 PLAINTIFF

v.                                 CASE NO. 2:19-CV-2148

ANDREW M. SAUL, Commissioner,
Social Security Administration                                                   DEFENDANT



                                           ORDER

       The Court has received proposed findings and recommendations (Doc. 12) from United

States Magistrate Judge Barry A. Bryant. There have been no objections. After careful review,

the Court concludes that the findings and recommendations should be, and hereby are, approved

and adopted as this Court’s findings in all respects in their entirety. Judgment will be entered

accordingly.

       IT IS SO ORDERED this October 15, 2020.



                                            /s/P. K. Holmes III
                                            P. K. HOLMES III
                                            U.S. DISTRICT JUDGE
